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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
                                   Case No. 1:21-cr-00605-RC-2
     -v-
AARON JAMES,

           Defendant.



   DEFENDANT AARON JAMES’ RESPONSE AND OPPOSITION TO
     UNITED STATES’ MOTION TO REVOKE RELEASE ORDER




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      COMES NOW Defendant AARON JAMES, by and through counsel, with this

response and opposition to the UNITED STATES’ MOTION TO REVOKE RELEASE

ORDER filed on July 15, 2022 (Doc. #62). Every claim for revocation and arrest

therein is false, exaggerated, deceptive, or groundless in one way or another.


      The United States invokes 18 U.S.C. § 3148(b) in its efforts to revoke. That

subsection provides that revocation may occur where, after a hearing, a court finds

(A)probable cause that the person has committed a crime while on release; or (B)clear

and convincing evidence that the person has violated any other condition of release.

In this case, the government does not allege that AARON JAMES has committed any

crimes. Rather, the government seeks to cobble together a few pictures of antique

knife sharpening tools, a reference to a toy cap gun, and reports that probation

officers felt threatened during visits to Mr. James’ residence.


      Subsection (2)(B) provides that a rebuttable presumption favoring revocation

exists where a supervisee committed a Federal, State, or local felony. But under the

8th amendment, when the government alleges mere violations of conditions, the

presumption is in favor of continued release. See United States v. Hassanshahi, 989

F. Supp. 2d 110 (D.D.C. 2013) (“Our system of criminal justice embraces a strong

presumption against detention.” United States v. Hanson, 613 F. Supp. 2d 85, 87

(D.D.C. 2009). “In our society liberty is the norm, and detention prior to trial or

without trial is the carefully limited exception.” United States v. Salerno, 481 U.S.

739, 755 (1987). The Bail Reform Act requires that the Court release a defendant if




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there are release conditions that reasonably assure that the individual will not

present a flight risk or a danger to the community.


I.    THE GOVERNMENT’S SPECIFIC ALLEGATIONS
      The government alleges “multiple violations of the conditions of [Mr. James’]

pre-trial release,” including “continued possession of three knives with blades of over

six inches and a replica gun in his basement dwelling,” “refusal to comply with the

Officer’s instructions . . . to get rid of his weapons within 24 hours,” “combative and

threatening conduct toward Pretrial Services officers,” and “interference with the

officers’ supervision of co-defendants.” An evidentiary hearing will establish that

none of these claims are true or accurate. Moreover, even if the claims were true,

they simply do not constitute grounds for revocation of James’ pre-trial release.


      The government’s motion contains a number of paragraphs describing the

government’s allegations against Aaron James and the three other members of the

Westbury family. Suffice it to say that the government’s depiction and version of

events is highly imaginary. James and his family are presumed innocent, and they

expect to be acquitted of every count at trial.


      Page 2 of the government’s motion contains the following interesting

paragraph:


             James, who seems to want to dictate the terms of his own
             release, has shown contempt for this Court’s directives, has
             made Pretrial Services understandably concerned for
             officer safety, and has made nearly impossible the
             continued supervision of his co-defendants (and their own
             compliance with the terms of their release). He remains in
             violation of his terms of release and presents a danger to


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             the community that no conditions will adequately mitigate.
             Accordingly, the Court should issue a warrant for the
             defendant’s arrest and detain him pending sentencing.
(Apparently the Department of Justice views sentencing as a given; trials or jury

determinations seem quaint, old fashioned or even irrelevant in the eyes of the

government.)


      Many of the government’s assertions are subjective.          Concepts such as

“understandably concerned for safety,” “seeming to want to dictate terms,” and

“making it nearly impossible . . .” are difficult to measure or qualitatively assess.

Other allegations are wholly conclusory (e.g., “shown contempt,” “remains in violation

of his terms,” and “presents a danger”). But to the extent that the motion describes

alleged bright-line fact-based claims, those claims are provably, demonstrably false

(e.g., the assertion of weapon possession, which will be addressed below).


      If the defendant had truly “shown contempt for the Court’s directives” or

“presents a danger to the community that no conditions will adequately mitigate,”

one would expect to see actual, bright-line violations such as crossing state or

international borders without permission,” ingesting illegal drugs, or committing acts

of violence or property crimes against those around him. There is no hint whatsoever

of such a level of “contempt for the Court’s directives.”

II.    THE CLAIMS OF “WEAPON” POSSESSION
      If Mr. James actually violated his terms by possessing weapons, one would

expect descriptions or details of these violations and these weapons on page 1. But

one must read to page 6 to get any details:




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             Already on October 20, 2021, James was in possession of a
             number of items considered by his Pretrial Services Officer
             to be weapons. He possessed a pellet gun, an antique
             firearm, a compound bow and arrows, a shotgun shell,
             multiple bladed weapons, and several “buck knives.” ECF
             No. 25 at 2. Because the Officer deemed those items to be
             weapons raising serious concerns about officer safety, he
             directed James to get rid of all weapons within 24 hours
             and to properly store all knives that serve a purpose other
             than as a weapon. Id. James indicated that he understood
             and intended to comply. Id. At a hearing before the Court
             on October 29, 2021, counsel for James confirmed that
             James would comply or had complied and there was no
             further dispute for the Court’s consideration. See generally
             Minute Entry, 10/29/21.
                   However, James did not comply. On February 15,
             2022, the Pretrial Services Officer observed some of the
             same knives on a shelf in James’s bedroom area.
      (emphasis added.)
      There is hardly an item among the government’s listed ‘weapons violations’

that constitutes an actual, recognized firearm or weapon under federal law. Shotgun

shells are explicitly excluded from the definition of firearms provided in 18 U.S.C. §

921(a)(4)(B). The pellet gun and the compound bow and arrows have already been

dealt with by this Court in prior proceedings. (In any case, Mr. James quickly

removed those items; and the Court did not revoke James’ pretrial release regarding

them.) The Westburys live in rural Minnesota, where hunting instruments, shotgun

shells, bows and arrows and pellet guns are prevalent (non-weapon) accessories in

many vehicles and households.




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III.   ANTIQUE FAMILY HEIRLOOM CIVIL WAR-ERA SHARPENING
       STEELS
       Aaron James reports that probation officers never complained about the ivory

handled sharpening steels near his bedstand in their initial visits. The items were

made the subject of discussion only during a visit in February of this year.


       And according to the government’s own report, Mr. James was never told to

get rid of all knives, or to store all knives in a secure location, or even to properly

store all knives in the kitchen.    Rather, the probation officer told the defendant to

make a determination, and to “properly store all knives that serve a purpose other

than as a weapon.” It was plainly left to Mr. James to determine which objects in his

domicile are knives and of those, which are knives that serve a purpose other than as

a weapon. From there, Mr. James was told only to “properly store” such “knives that

serve a purpose other than as a weapon.” This is according to the government’s own

report (and Mr. James remembers the instructions slightly differently—which is to

say, he recalls the probation officers expressing no strong disapproval of the antique

cutlery until the very most recent visits, whereupon the probation officers seemed to

dramatically depart from their prior stance.


       By the probation officer’s own admission, James was given no instruction

whatsoever to remove the “knives” displayed on Mr. James’ bedroom furniture. Yet

the government’s motion proclaims that “However, James did not comply. On

February 15, 2022, the Pretrial Services Officer observed some of the same knives on

a shelf in James’s bedroom area.”




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IV.   THE IVORY HANDLED SHARPENING STEELS
      The alleged “knives” in question are, in fact, antique family heirlooms

manufactured in the nineteenth century. Properly speaking, they are sharpening

steels and not knives at all.    They are ivory handled, which means that their

possession is subject to federal regulations under the Endangered Species Act, the

African Elephant Conservation Act, 16 U.S.C. § 4223(1), and the Convention on

International Trade in Endangered Species (“CITES”), July 1, 1975, 50 C.F.R. § 23.23

(1989). Such ivory cannot be sold or transported across international borders and are

subject to other commercial limitations. However, because the cutlery are family

heirlooms from the nineteenth century, Mr. James’ ownership and possession of them

is protected under ‘grandfather’ exception clauses.




      Because the steels are antique collectibles, James cannot store them in the

household kitchen area where they might be mistakenly used as kitchen utensils or

mixed in with other silverware. The family intends to display these Civil War era

collectors’ items properly in the future. However, the home is currently undergoing

some renovations, and the items are on display in an imperfect fashion on

bookshelves.




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 V.   SUCH CUTLERY ARE NOT CONSIDERED WEAPONS UNDER
      FEDERAL LAW
      Of course, even if the objects were knives, they are generally not considered

weapons under federal law. In United States v. Vinton, 594 F.3d 14, 22-23 (D.C. Cir.

2020), the D.C. Circuit distinguished between knives which are inherently intended

for use as weapons and those which are not. Judge Brown found that “[t]he design of

a butterfly knife makes it principally useful as an easily concealable and quickly

deployable weapon capable of injuring another person in an altercation at close

range,” citing Taylor v. United States, 848 F.2d 715, 716, 720 (6th Cir. 1988) (butterfly

knives are "most often associated with the martial arts and with combat . . . [and are]

potentially dangerous, lethal" weapons that "can be opened very rapidly, perhaps in

less than 5 seconds"). Judge Brown wrote that the distinguishing features of such a

knife, described in an unpublished 2006 opinion, involved the user releasing “one of

the halves of the handle and through a combination of gravity and centrifugal force,

the latter generated by a movement of the arm or wrist, the wielder swings that half

of the handle around until it meets the other half. These forces also swing the blade

into position."


      Such distinguishing features of a “butterfly knife,” according to the D.C.

Circuit, gave arresting officers suspicion that they might find other weapons in a

person’s vehicle and helped form probable cause for a more in-depth search of the

vehicle. Id.


       Similarly, in another case, United States v. Broadie, 452 F.3d 875, 881-82 (DC

Cir. 2006), the D.C. Circuit considered whether D.C. police had probable cause to


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detain someone carrying an “ASP baton” under a D.C. Code provision (§ 22-4504(a))

that prohibits carrying a dangerous weapon. In dicta, Judge Ginsberg discussed

attributes of knives which might make them fall under the designation of a

“dangerous weapon.”:


            In the District of Columbia, a "dangerous weapon" is
            anything that is "likely to produce death or great bodily
            injury by the use made of it." Strong v. United States, 581
            A.2d 383, 386 (D.C. 1990) (quoting Scott, 243 A.2d at 56).
            An object is “likely to produce great bodily injury” if: (1) the
            design of the object is such that in its ordinary use it is
            likely to cause great bodily injury; or (2) the surrounding
            circumstances indicate that an object capable of causing
            great bodily injury is likely in fact so to be used. For
            example, some items, “such as particularly menacing
            knives, have been held to be inherently dangerous,” id.,
            that is, “dangerous in its ordinary use as contemplated by
            its design and construction,” Scott, 243 A.2d at 56. But "all
            knives are not per se dangerous . . . [because a] knife may
            be used as a tool in certain trades or hobbies or it may be
            carried for utilitarian reasons.” Id. An object that is not
            “inherently dangerous can become dangerous by its use as
            a weapon.” Strong, 581 A.2d at 386; see also Scott, 243 A.2d
            at 56 (an instrument may be dangerous “where the purpose
            of carrying the object, under the circumstances, is its use
            as a weapon”).
Broadie, 452 F.3d at 881-82 (emphasis added).


      Note that in the Scott v. United States case, 243 A.2d 54 (D.C. 1968) case, relied

on by the Broadie Court, the Court of Appeals wrote that:


            This court has previously held that all knives are not per
            se dangerous weapons. Degree v. United States, D.C. Mun.
            App., 144 A.2d 547 (1958). A knife may be used as a tool in
            certain trades or hobbies, or it may be carried for
            utilitarian reasons. Section 22-3204 does not prohibit the
            carrying of such instruments for a legitimate purpose. The
            statute, as we interpret it, outlaws the carrying of an
            otherwise useful object where the surrounding


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                circumstances, such as the time and place the defendant
                was found in possession of such an instrument, or the
                alteration of the object, indicate that the possessor would
                use the instrument for a dangerous purpose.
Scott, at 56.


       In the instant case of Aaron James, a handful of ‘knife-like’ sharpening steels

simply do not qualify as weapons under federal law, as described above. Nor do the

items’ position near James’ bed earlier this year give rise to any interpretation that

they might be used as weapons in any sense. (In any case, James has now removed

the items from the bookcase.)


VI.    “A REPLICA GUN IN HIS BASEMENT DWELLING”
       The government references, on its first page, the alleged “continued

possession” by James “of . . . a replica gun in his basement dwelling.” Although the

government proclaims (in the most passing way) such “replica gun” possession is one

of “multiple violations of the conditions of his pre-trial release,” the government

thereafter says nothing about this alleged “violation.” Perhaps the government fears

mockery or even formal sanctions by the Court.


       It is difficult to imagine a more frivolous or comedic allegation being lodged in

any federal court. The “replica gun” referenced as a violation of James’s conditions

is plainly a child’s toy cap gun. By no stretch of the imagination—let alone federal

law—could possession of such an obvious toy “replica” be grounds for imprisoning an

unconvicted American pending trial in the face of the 8th amendment.




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      18 U.S.C. § 921(a) (3)(D) defines the term “firearm” to “not include an antique

firearm.” It is well settled that possession by a felon of an antique firearm is not a

federal offense, see United States v. Laroche, 723 F.2d 1541 (11th Cir. 1984); United

States v. Mayo, 705 F.2d 62 (2d Cir. 1983). But in Aaron James’ case, the “replica”

wasn’t even an actual replica or an antique firearm; it was a child’s toy. Any toy

which is not “designed to or may readily be converted to expel a projectile by the

action of an explosive” is not a firearm. No reasonable probation officer could make

such a mistake of fact in good faith.




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VII.   REVOCATION CANNOT BE BASED ON PERCEIVED
       NONCOMPLIANCE OF AMBIGUOUS COMMANDS
       Defendant James did in fact comply with his probation officer’s command to

“properly store all knives that serve a purpose other than as a weapon.” From the

first meeting with probation officers at his residence, Mr. James removed all items

which were commanded to be removed. The original October 20, 2021 command by

the officer had not included the antique cutlery and family heirloom sharpening

steels. No reference to the cutlery was made during the February 2022 visit.


       And, after the February visit, James did in fact remove the actual knives in

the collection from his bedside bookshelf. James now recognizes that there is a

dispute regarding interpretation of James’ conditions between himself and certain

probation officers. Out of respect for the Court and the US probation office, James

has now removed all the ivory-handled items—including forks—from the bookshelf.


       Given the ambiguous commands described in the government’s own motion,

Mr. James’ approach cannot be considered noncompliance. “[N]o one should be held

in contempt for violating an ambiguous order; a finding of contempt should be clear

and certain.” In re Fischer, 501 B.R. 346, 350 (B.A.P. 8th Cir. 2013) (citing Imageware,

Inc. v. U.S. W. Commc'ns, 219 F.3d 793, 797 (8th Cir. 2000)). “A party commits

contempt when he violates a definite and specific order of the court requiring him to

perform or refrain from performing a particular act or acts with knowledge of the

court's order.” In re Reed, 888 F.3d 930, 936 (8th Cir.) (citation omitted). “If the

underlying order contains no operative commands, only abstract legal conclusions or

compels no action then a finding of contempt is not warranted. Fischer, 501 B.R. at


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 350 (citing Int’l Bhd. of Electr. Workers, Local Union No. 545 v. Hope Electr. Corp.,

 293 F.3d 409, 418 (8th Cir. 2002)); FTC v. Leshin, 618 F.3d 1221, 1232 (11th Cir.

 2010) (contempt proceedings for noncompliance with orders must be supported by

 clear and convincing evidence that "the allegedly violated order was valid and lawful;

 . . . the order was clear and unambiguous; and the . . . alleged violator had the ability

 to comply with the order" (citing Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1296

 (11th Cir. 2002)).

VIII.   CLAIMS THAT AARON JAMES OBSTRUCTED OR DELAYED
        INSPECTION EVAPORATE UPON SCRUTINY
        The government’s motion continues with claims that Aaron James “delayed

 the officers’ review of the basement for a significant amount of time” during a June

 17, 2022 visit by Pretrial Services. The government also claims that James acted in

 a combative or threatening manner during the same visit.


        In fact, James merely informed probation officers that his girlfriend was

 dressing in the downstairs area.       According to James this “delay” was hardly

 significant and could not have been more than a minute or two.


 IX.    PRETRIAL RELEASE CANNOT BE REVOKED FOR “THREATS” TO
        PURSUE LEGAL REMEDIES OR INSIST ON PROPER LEGAL
        TREATMENT
        The government’s motion accuses the defendant of being confrontational and

 making threats to probation officers On June 17, 2022—more than a month ago; yet

 the officers did not report such alleged threats until the July 15 filing.


        But a cursory examination of the alleged threats described in the government’s

 own motion reveals that Mr. James’ alleged statements weren’t threats at all, in any


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legal sense. At most, Mr. James’ reported remarks (e.g., “are you going to yell at me

for my cutlery again?,” “you tried to put me in jail over some knives,” and “you are in

my house”) illustrate frustrated, uncomfortable, or nervous small talk of the kind that

is typical of supervisees during high-stakes inspections. 1 While the officer “concluded

that James was agitated and taking an inappropriate and threatening tone and

physical posture,” a reasonable interpretation of Mr. James’ conduct is that James

was expressing simple frustration over what James felt were the officer’s sudden

overzealousness regarding trivial matters.


          Mr. James has provided a walk-through video of the setting. It is evident that

open spaces and passageways throughout the domicile are somewhat filled with boxes

and other household items as the home is undergoing renovation. Mr. James states

that, during the visit, he was simply positioned above the stairs with limited space

available to move out of the way. James has also provided a letter indicating that he

has respect for the officers and had no intention to appear confrontational during the

recent visit.


          Verbal statements to a correction officer must be intended to place the officer

in fear of harm and to coerce the officer in order to be considered unlawful

threatening. State v. Harwood, 238 A.3d 661 (Vt. 2020).




1
    A reasonable person might wonder what a supervisee might be expected to say upon the first home visit from
    probation officers who previously sought to jail the supervisee over what some observers (including this Court)
    regarded as exaggerated claims. Did officers expect James to be silent regarding the matter? In light of the obvious
    disagreement of assessments regarding such matters, James’ reported remarks seem almost designed to relax the
    tension of the moment, while probation agents unprofessionally sought to escalate hostility.


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      More concerning is the government’s attempt to jail an American citizen for

merely verbally challenging a probation officer’s legal interpretation of terminology.


      According to the government’s motion, “When the Officer asked James why he

had not removed the weapons, James responded, ‘if you want to call those weapons

you can tell DC about it and see what they say.’ (United States Mot., p. 7). The United

States regards such a challenge to seek a legal opinion from “DC” to be a threat. A

long line of first amendment cases regarding “true threats” protects speech which

merely questions the construction of a statute. See, e.g., Virginia v. Black, 538 U.S.

343, 359 (2003). The Supreme Court has said that “’[t]rue threats' encompass those

statements where the speaker means to communicate a serious expression of an

intent to commit an act of unlawful violence to a particular individual or group of

individuals.” Id.


 X.   THE GOVERNMENT’S TOTALLY BASELESS CLAIMS THAT JAMES
      IS A THREAT TO THE COMMUNITY AT LARGE
      Outlandishly, the government sums up its motion with a flurry of excited
rhetoric, claiming that
             James’s conduct, coupled with his prior violations of his
             conditions of release, shows that no condition or
             combination of conditions can adequately protect the public
             from the defendant, and warrants immediate action by the
             court through the issuance of an arrest warrant. Pretrial
             Services cannot safely supervise Aaron James, Robert
             Westbury, or Isaac Westbury while James remains in the
             Westbury home. Anything short of detention would
             endorse James’s strategy of blatantly violating the terms
             of his supervision in order to rid himself of such
             supervision. And this Court’s dedicated Pretrial Services
             officers should not be required to risk harm so that James
             can remain in his parents' basement pending trial.



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      Government’s motion, p. 11.
XI.      EVEN IF THE GOVERNMENT’S CLAIMS OF VIOLATIONS WERE
         TRUE, THE GOVERNMENT’S REVOCATION MOTION MUST BE
         DENIED BASED ON § 3142 GROUNDS
         Defendant Aaron James has a clean record. He is a decorated U.S. Navy

veteran, honorably discharged. He was a corpsman attached to a Marine Unit. The

only sailors regularly and routinely attached to the Marine Units are Hospital

Corpsman with the Fleet Marine Force, who the Marines absolutely love and treat as

one of their own. Mr. James is a trained professional first responder and EMT. With

the exception of the allegations in this indictment, Mr. James has never been accused

of being a danger to the public in any sense. (And Mr. James is presumed to be

entirely innocent of the indictment under the law.)


         The defendant has been on pre-trial release since the date of his arraignment.

He has attended every hearing and responded to every motion.


         Even if the government’s claims of violations were true, Section 3142 requires

that a pretrial defendant may only be committed to pretrial incarceration only if the

Court (2) finds that—

         A.    based on the factors set forth in section 3142(g) of this
               title, there is no condition or combination of conditions
               of release that will assure that the person will not flee or
               pose a danger to the safety of any other person or the
               community; or
         B.    the person is unlikely to abide by any condition or
               combination of conditions of release.
         Defendant submits that under no stretch of the imagination has the United

States shown information that might cause any court to conclude that Mr. James




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might flee or pose any danger to the safety of anyone. Nor is there any suggestion

(outside the government’s conclusory motion) that Mr. James might be unlikely to

abide by any condition or combination of conditions.


XII.   CONCLUSION
       Accordingly, the defendant asks this Court to DENY the motion of the United

States to revoke the defendant’s pre-trial release.


Dated: July 22, 2022                    Respectfully submitted,



                                        /s/ John M. Pierce
                                        John M. Pierce
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                          ATTACHED EXHIBITS

1. Handwritten letter by Aaron James

2. Appraisal of the cutlery at issue in this case

3. Screenshot(s) of the toy cap guns available on ebay, etc.

4. Aaron James Video




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 EXHIBIT 1
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  Object Identification and Appraisal for Antiques & Historical Items

* includes paintings, sculptures, watercolors, prints, drawings, ceramics, antiques, decorative arts, textiles,
carpets, silver, rare manuscripts, historical memorabilia, and other similar objects.


VALUATION EFFECTIVE DATE: 7/18/2022

FAIR MARKET VALUE: $ 150.00 - 200.00


ARTIST:
                         Harrison Bros. & Howson Sheffield
DESCRIPTION:             19th Century Sheffield, England Harrison Bros. & Howson Sterling
                          Silver Mounted Ivory Handled Carving Set.
                     •   1773
                     •   Sterling Silver mounted in Ivory
                     •   Makers Mark HH
                     •   Sterling Silver Mounted Ivory             Handled
                         Carving Set.
PROVENANCE: None: Passed down from Ancestors

LITERARY REFERENCES/CATALOGUE RAISONNÉ: CONDITION: Fair

ACQUISITION COST, DATE AND SOURCE: None, 2010, Passed down from

Ancestors

APPRAISED VALUE SUPPORT: $ 150.00 - 200.00,
Not a complete set, Age Splits to Ivory Handles,
Moderate Corrosion to one stainless steel blade
AUCTION OR PRIVATE SALES:



PRICE                       SALE, LOCATION, DATE, LOT #
For example:
                                https://www.kodner.com/auctions/2016/08/10/
   $468.00                 fine-art-antiques-and-estate-jewelry/204


     DESCRIPTION 19th Century Sheffield, England Harrison Bros. &
     Howson Sterling Silver Mounted Ivory Handled Five (5) Piece Carving
     Set in Fitted Box.
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REASONING FOR APPRAISED VALUE:

These items have significant wear and some corrosion. Ivory handles have some splitting, and the set is incomplete,
which has harmed the value of the items. Complete sets have sold for double in better condition, shown in link.

Note: It is understood that complete information will not be readily available in every case.
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 EXHIBIT 3
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             Exhibit 4
  Aaron James Video
                          Can be accessed here:
https://www.dropbox.com/s/l3gd3la11pqc8zw/Aaron%20James%20Video.mp4?dl=0
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on July 22, 2022, this motion and the accompany

exhibits were filed via the Court’s electronic filing system, which constitutes service

upon all counsel of record.


                                        /s/ John M. Pierce
                                        John M. Pierce




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